Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 1 of 60 Page ID
                                   #:367
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 2 of 60 Page ID
                                   #:368
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 3 of 60 Page ID
                                   #:369
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 4 of 60 Page ID
                                   #:370
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 5 of 60 Page ID
                                   #:371
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 6 of 60 Page ID
                                   #:372
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 7 of 60 Page ID
                                   #:373
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 8 of 60 Page ID
                                   #:374
Case 2:25-cv-00765-MEMF-JPR   Document 23   Filed 04/11/25   Page 9 of 60 Page ID
                                   #:375
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 10 of 60 Page
                                  ID #:376
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 11 of 60 Page
                                  ID #:377
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 12 of 60 Page
                                  ID #:378
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 13 of 60 Page
                                  ID #:379
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 14 of 60 Page
                                  ID #:380
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 15 of 60 Page
                                  ID #:381
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 16 of 60 Page
                                  ID #:382
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 17 of 60 Page
                                  ID #:383
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 18 of 60 Page
                                  ID #:384
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 19 of 60 Page
                                  ID #:385
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 20 of 60 Page
                                  ID #:386
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 21 of 60 Page
                                  ID #:387
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 22 of 60 Page
                                  ID #:388
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 23 of 60 Page
                                  ID #:389
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 24 of 60 Page
                                  ID #:390
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 25 of 60 Page
                                  ID #:391
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 26 of 60 Page
                                  ID #:392
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 27 of 60 Page
                                  ID #:393




                   EXHIBIT
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 28 of 60 Page
                                  ID #:394
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 29 of 60 Page
                                  ID #:395
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 30 of 60 Page
                                  ID #:396
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 31 of 60 Page
                                  ID #:397
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 32 of 60 Page
                                  ID #:398
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 33 of 60 Page
                                  ID #:399
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 34 of 60 Page
                                  ID #:400
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 35 of 60 Page
                                  ID #:401
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 36 of 60 Page
                                  ID #:402
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 37 of 60 Page
                                  ID #:403
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 38 of 60 Page
                                  ID #:404
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 39 of 60 Page
                                  ID #:405
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 40 of 60 Page
                                  ID #:406
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 41 of 60 Page
                                  ID #:407
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 42 of 60 Page
                                  ID #:408
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 43 of 60 Page
                                  ID #:409
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 44 of 60 Page
                                  ID #:410
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 45 of 60 Page
                                  ID #:411
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 46 of 60 Page
                                  ID #:412
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 47 of 60 Page
                                  ID #:413
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 48 of 60 Page
                                  ID #:414
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 49 of 60 Page
                                  ID #:415
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 50 of 60 Page
                                  ID #:416
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 51 of 60 Page
                                  ID #:417
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 52 of 60 Page
                                  ID #:418
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 53 of 60 Page
                                  ID #:419
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 54 of 60 Page
                                  ID #:420
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 55 of 60 Page
                                  ID #:421
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 56 of 60 Page
                                  ID #:422
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 57 of 60 Page
                                  ID #:423
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 58 of 60 Page
                                  ID #:424
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 59 of 60 Page
                                  ID #:425
Case 2:25-cv-00765-MEMF-JPR   Document 23    Filed 04/11/25   Page 60 of 60 Page
                                  ID #:426
